
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by Claimant and Respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. InMay of2010, Claimant incurred the expense of cutting down a tree that was located on Cassville Mt. Morris Road that was in danger of falling onto the structure of the church located in Monongalia County.
2. Respondent is responsible for the maintenance of clearing trees after road construction which it failed to maintain properly on the date of this incident.
3. As a result, Claimant incurred the expense of having the tree removed.
4. Respondent agrees that the amount of $200.00 for the damages put forth by the Claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that Respondent was negligent in its maintenance of Cassville Mt. Morris Road on the date of this incident; that the negligence of Respondent was the proximate cause of the damages sustained to Claimant’s vehicle; and that the amount of damages agreed to by the parties is fair and reasonable. Thus, Claimant may make a recovery for the loss.
It is the opinion of the Court of Claims that the Claimant should be awarded the sum of $200.00 on this claim.
Award of $200.00.
